Case 1:18-cr-00627-CCB Document1 Filed 12/19/18 Page 1of5

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IN THE UNITED STATES DISTRICT COURT Par et ey VUARD

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FOR THE DISTRICT OF MARYLAND
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UNITED STATES OF AMERICA

    
 

WILLIAM LAMONT HOLDER, : . (Interstate Transportation of Stolen
Property, 18 U.S.C. § 2314; Wire
Defendant. : Fraud, 18 U.S.C. § 1343; Forfeiture,

18 U.S.C. § 982(a)(2)(A))
000...
INDICTMENT

COUNTS ONE THROUGH FIVE
(Wire Fraud)
The Grand Jury for the District of Maryland charges that:
| Introduction

At all times relevant to this Indictment:

1, The defendant, WILLIAM LAMONT HOLDER (“HOLDER”), was a resident
of Hanover, Maryland.

2. HOLDER was the sole owner and operator of Safe Harbour Wine Storage, LLC
(“Safe Harbour’), a company incorporated in the state of Maryland with its principal office in Glen
Burnie, Maryland.

3. Safe Harbour was in the business of storing and transporting upscale wines for
private collectors and commercial establishments. In return for a monthly fee and pick-up charge,
HOLDER would arrange for the transportation of a customer’s wine to Safe Harbour’s storage
facility in Glen Burnie, Maryland, where it would be inventoried and stored.

4, HOLDER promoted his business as way for customers to maintain their
Case 1:18-cr-00627-CCB Document1 Filed 12/19/18 Page 2 of 5

investment in high-end wines by storing their inventory in a secure, climate-controlled warehouse.
Safe Harbour frequently provided transportation and storage services to customers outside the state
of Maryland. |

5. Pursuant to Safe Harbour’s storage agreements, customers were supposed to have
access to their inventories in order to add or remove cases of wine. Such access was subject to a
handling fee. In lieu of traveling to Safe Harbour’s storage facility, customers could pay a
delivery fee and arrange to have some or all of their wine sent to them.

6. HOLDER did not possess a license to sell wine in the state of Maryland.

7. In furtherance of Safe Harbour’s business, HOLDER utilized a facsimile machine
assigned telephone number XXX-XXX- 8641.

The Scheme To Defraud

8. The defendant devised and intended to devise a scheme and artifice to obtain money
and property from the customers of Safe Harbour by means of materially false and fraudulent
pretenses and representations, namely, the fraudulent conversion and sale of customers’ wine for
his own personal financial gain without their knowledge and consent (“the scheme to defraud”).

The Charge

9. On or about the dates listed below, in the District of Maryland and elsewhere, the

defendant,
WILLIAM LAMONT HOLDER,

for the purpose of executing and attempting to execute the scheme to defraud, did knowingly ’
transmit and cause to be transmitted in interstate commerce, by means of wire communications,

certain writings, signs, signals, and sounds, as set forth below:

 

 

 

 

 

 

 

COUNT | DATE WIRE TRANSMISSION SALE
PRICE
} 11-16-16 A fax of a Wine Purchase Letter of Agreement from $22,488.49
phone number XXX-XXX-8641 in Glen Burnie,

 
Case 1:18-cr-00627-CCB Document1 Filed 12/19/18 Page 3 of 5

 

 

Maryland to a wine broker in Napa, California
regarding the sale of approximately 141 bottles of
wine.

 

2 12-6-16

A fax of a Wine Purchase Letter of Agreement from
phone number XXX-XXX-8641 in Glen Burnie,
Maryland to a wine broker in Napa, California
regarding the sale of approximately 366 bottles of
wine.

$41,310.83

 

3 5-9-17

A fax of a Wine Purchase Letter of Agreement from
phone number XXX-XXX-8641 in Glen Burnie,
Maryland to a wine broker in Napa, California
regarding the sale of approximately 209 bottles of
wine.

$14,174.30

 

4 6-14-17

A fax of a Wine Purchase Letter of Agreement from
phone number XXX-XXX-8641 in Glen Burnie,
Maryland to a wine broker in Napa, California
regarding the sale of approximately 216 bottles of
wine.

$11,800

 

5 11-29-17

 

 

A fax of a list of wines for sale from phone number
XXX-XXX-8641 in Glen Burnie, Maryland to a wine
retailer in Washington, D.C. regarding the sale of
approximately 92 bottles of wine.

 

$15,000

 

18 U.S.C. § 1343

 
Case 1:18-cr-00627-CCB Document1 Filed 12/19/18 Page 4of5

COUNTS SIX THROUGH TEN
(Interstate Transportation of Stolen Goods)
The Grand Jury for the District of Maryland further charges that:
1. Paragraphs | through 7 of Count One are realleged and incorporated by reference
as though fully set forth in these Counts. |
2. On or about the dates listed below, in the District of Maryland and elsewhere, the
defendant,
WILLIAM LAMONT HOLDER,
did knowingly and unlawfully transport, transmit, and transfer in interstate commerce from Glen
Bumie, Maryland, to the locations listed below, goods, wares and merchandise, that is, fine wines,

of the value of $5,000 or more, knowing the same to have been stolen, converted and taken by

 

 

 

 

 

 

fraud:
COUNT DATE DESTINATION
6 11-17-16 A wine brokerage in Napa, California.
7 12-12-16 A wine brokerage in Napa, California.
8 5-11-16 A wine brokerage in Napa, California.
9 6-16-16 A wine brokerage in Napa, California.
10 12-6-16 A wine retailer in Washington, D.C.

 

 

 

 

 

18 U.S.C. § 2314
Case 1:18-cr-00627-CCB Document 1 Filed 12/19/18 Page 5.of 5
FORFEITURE
The Grand Jury for the District of Maryland further charges that:
1. Pursuant to 18 U.S.C. Section 981(a)(1)(C) & (E), 28 U.S.C. Section 2461(c), and
21 U.S.C. § 853(a), upon conviction of an offense in violation of 18 U.S.C. §§ 1343 and 2314 as
alleged in Counts One through Ten, the defendant shall forfeit to the United States of America all

property, real and personal, which constitutes and is derived from proceeds traceable to the scheme

to defraud.
2. The property to be forfeited includes, but is not limited to, the following:
a. A sum of money equal to the value of the property stolen or obtained by the
scheme to defraud, which amount is at least $2,333,858.
3. If any of the property described above, as a result of any act or omission

of the defendants:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantiaily diminished in value; or

has been commingled with other property which cannot be divided without
difficulty,

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the United States of America shal! be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

18 U.S.C. § 982(a)(2)(A); 28 U.S.C. § 2461(c); Rule 32.2, F.R.Crim.P.

(4 & |

 

 

Robert K. Hur
United States Attorney for the
District of Maryland
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Foreperson™ Date "
